

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-56,448-04






JOE ALEX ROBERTSON, Relator



v.



TARRANT COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM TARRANT COUNTY


IN CAUSE NO. 0491055

IN THE CRIMINAL DISTRICT COURT





		Per curiam.


O R D E R




	This is an original application for a writ of mandamus. Relator contends that he filed an
application for writ of habeas corpus in cause number 0491055 in the Criminal District Court of
Tarrant County on May 29, 2003, but more than thirty-five days have elapsed and the application has
not been forwarded to the Court of Criminal Appeals.

	It is this Court's opinion that additional information is required before a decision can be
reached on the motion for leave to file the instant action.  The respondent, District Clerk of Tarrant
County, is ordered to file a response with this Court within thirty days by submitting the record on
such habeas corpus application or a copy of a timely-entered order designating issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.Cr.App. 1992); Martin v. Hamlin, 25
S.W.3rd 718 (Tex.Cr.App. 2000), or by stating the nature of any applications filed by Relator such
that they are not filed pursuant to Article 11.07, §&nbsp;3, TEX.CODE CRIM.PROC., or that no
applications by Relator have been filed.  This application for writ of mandamus is held in abeyance
pending compliance with this order.

	IT IS SO ORDERED this the29th day of   March, 2006.


DO NOT PUBLISH	


